                                                                                                             Case 5:19-cv-01026-AB-PLA Document 1-13 Filed 06/05/19 Page 1 of 2 Page ID #:612


                                                                                                         1 TUCKER ELLIS LLP
                                                                                                           MONEE TAKLA HANNA SBN 259468
                                                                                                         2 monee.hanna@tuckerellis.com
                                                                                                           515 S. Flower Street, 42nd Floor
                                                                                                         3 Los Angeles, CA 90071
                                                                                                           Telephone: 213.430.3400
                                                                                                         4 Facsimile: 213.430.3409
                                                                                                         5 TUCKER ELLIS LLP
                                                                                                           DUSTIN B. RAWLIN (pro hac vice application forthcoming)
                                                                                                         6 dustin.rawlin@tuckerellis.com
                                                                                                           950 Main Avenue, Suite 1100
                                                                                                         7 Cleveland, OH 44113-7213
                                                                                                           Telephone: 216.592.5000
                                                                                                         8 Facsimile: 216.592.5009
                                                                                                         9 Attorneys for Defendant
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                           MENTOR WORLDWIDE LLC
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                                                                                                                                 UNITED STATES DISTRICT COURT
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                                                                                                                               CENTRAL DISTRICT OF CALIFORNIA
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                                                                                                        14 BRITTANY BILLETTS, an individual; ) Case No. 5:19-cv-1026
                                                                                                           VIVIAN AGUIAR, an individual; ANN )
                                                                                                        15 DELMONICO, an individual; CORNELIA)
                                                                                                           DITTO, an individual; LEAH JOHNSON,
                                                                                                                                             )
                                                                                                        16 an individual;                    ) DECLARATION OF DUSTIN
                                                                                                                                             ) RAWLIN IN SUPPORT OF
                                                                                                        17                                   ) DEFENDANT MENTOR
                                                                                                                               Plaintiffs,   ) WORLDWIDE LLC’S NOTICE OF
                                                                                                        18                                   ) REMOVAL UNDER 28 U.S.C. §§ 1332,
                                                                                                                   v.                        ) 1441, 1446 (DIVERSITY
                                                                                                        19                                   ) JURISDICTION)
                                                                                                              MENTOR WORLDWIDE, LLC; NUSIL, )
                                                                                                        20    LLC; NUSIL TECHNOLOGY LLC; and )
                                                                                                              DOES 1–100, inclusive,         ) Complaint Filed: February 22, 2019
                                                                                                        21                                   )
                                                                                                                               Defendants.   ) Related to Case No. 2:19-CV-01484
                                                                                                        22                                   ) (Jacob, et al. v. Mentor Worldwide,
                                                                                                                                             ) LLC, et al.)
                                                                                                        23                                   )
                                                                                                                                             ) [Filed Concurrently with Notice of
                                                                                                        24                                   ) Removal; Declaration of Monee Takla
                                                                                                                                             ) Hanna; Notice of Related Case]
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                                                                                                                                             )
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                                                                                                                                          DECLARATION OF DUSTIN RAWLIN
                                                                                                             Case 5:19-cv-01026-AB-PLA Document 1-13 Filed 06/05/19 Page 2 of 2 Page ID #:613


                                                                                                         1          I, Dustin Rawlin, declare as follows:
                                                                                                         2                I am an attorney at Tucker Ellis LLP, attorneys of record for Defendant
                                                                                                         3 Mentor Worldwide LLC (“Mentor”). The facts stated hereunder are true, known to me of
                                                                                                         4 my own personal knowledge, and if called as a witness, I could and would competently
                                                                                                         5 testify thereto.
                                                                                                         6                I, along with Monee Takla Hanna, appeared on behalf of Mentor during the
                                                                                                         7 May 9, 2019 deposition of NuSil LLC member, Edward Scott Mraz.
                                                                                                         8                Amanda McGee of the law firm Lenze Lawyers, PLC and Lowell W. Finson
                                                                                                         9 of the Finson Law Firm, LLC appeared for Plaintiffs.
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                                                                                                        10                Melissa J. Fassett appeared for Defendants NuSil LLC and NuSil Technology
                                                                                                        11 LLC.
                                                                                                        12                During a break, toward the end of Mr. Mraz’s deposition, Mr. Finson told
                                                                                                        13 defense counsel that he thought that they [plaintiffs] were going to need to dismiss NuSil
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                                                                                                        14 LLC because it appeared it was not a proper party based on Mr. Mraz’s testimony.
                                                                                                        15                Mr. Finson also went on to say that, if removal was the consequence of
                                                                                                        16 dismissing NuSil LLC, then so be it.
                                                                                                        17          I declare under penalty of perjury under the laws of the United States of America
                                                                                                        18 that the foregoing is true and correct and that this declaration is executed by me on this 5th
                                                                                                        19 day of June, 2019 at Cleveland, Ohio.
                                                                                                        20
                                                                                                        21                                     /s/ Dustin Rawlin
                                                                                                                                               Dustin Rawlin
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                                                                                                                                            DECLARATION OF DUSTIN RAWLIN
